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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 1:23-CR00071-RDM
               v.                             :
                                              :
BRYAN SHAWN SMITH,                            :
                                              :
                       Defendant.             :

    NOTICE REGARDING COUNT TWO OF THE SUPERSEDING INDICTMENT

        The government provides notice that, at trial, it will not proceed under a theory that the
defendant inflicted bodily injury on officers, in violation of Title 18, United States Code, Sections
111(a)(1), 111(b), and 2, as charged in Count Two of the Superseding Indictment. Instead, the
government will pursue the lesser offense, which is charged in the Superseding Indictment, and
which alleges that the defendant assaulted, resisted, opposed, intimidated, or interfered with an
officer, and that the defendant’s conduct involved physical contact or the intent to commit another
felony, in violation of Title 18, United States Code, Section 111(a)(1) and 2.

                                              Respectfully submitted,
                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              DC Bar No. 481052


                                      By:     /s/ Eli J. Ross
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